Case: 4:05-cr-00306-JCH   Doc. #: 265 Filed: 08/25/06   Page: 1 of 7 PageID #:
                                     840
Case: 4:05-cr-00306-JCH   Doc. #: 265 Filed: 08/25/06   Page: 2 of 7 PageID #:
                                     841
Case: 4:05-cr-00306-JCH   Doc. #: 265 Filed: 08/25/06   Page: 3 of 7 PageID #:
                                     842
Case: 4:05-cr-00306-JCH   Doc. #: 265 Filed: 08/25/06   Page: 4 of 7 PageID #:
                                     843
Case: 4:05-cr-00306-JCH   Doc. #: 265 Filed: 08/25/06   Page: 5 of 7 PageID #:
                                     844
Case: 4:05-cr-00306-JCH   Doc. #: 265 Filed: 08/25/06   Page: 6 of 7 PageID #:
                                     845
Case: 4:05-cr-00306-JCH   Doc. #: 265 Filed: 08/25/06   Page: 7 of 7 PageID #:
                                     846
